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APPENDIX A


                               TABLE OF NON-AUTHORITIES

Cases relying on dispelled Nat’l Acad., Prince, Carroll without independent analysis

Coritsidis v. Khal Bnei Torah of Mount Ivy,
No. 22-CV-10502, 2024 WL 37122, at *6 (S.D.N.Y. Jan. 3, 2024) (Establishment clause § 1983).

Editor's Pick Luxury LLC v. Red Points Sols. SL,
No. 1:22-CV-07463, 2023 WL 6385993, at *6 (S.D.N.Y. Sept. 29, 2023).

Exec. Park Partners LLC v. Benicci Inc.,
No. 22-CV-02560, 2023 WL 3739093, at *7 (S.D.N.Y. May 31, 2023).

LaNasa v. Stiene,
731 F. Supp. 3d 403, 417 (E.D.N.Y. 2024) (under appeal to 2d Cir.).

CDC Newburgh Inc. v. STM Bags, LLC,
692 F. Supp. 3d 205, 223 (S.D.N.Y. 2023).

Cases moving under N.Y. C.P.L.R. §§ 3211(g) or 3212(h) and not federal rules

Watson v. NY Doe 1,
No. 19-CV-533, 2023 WL 6540662, at *6–7 (S.D.N.Y. Oct. 6, 2023).

Yeshiva Chofetz Chaim Radin, Inc. v. Vill. of New Hempstead,
98 F. Supp. 2d 347, 359 (S.D.N.Y. 2000).

Cases declining to consider whether § 70-a is applicable in federal court

Waite v. Gonzalez,
No. 21CV2506, 2023 WL 2742296, at *13 (E.D.N.Y. Mar. 31, 2023).

Unlimited Cellular, Inc. v. Red Points Sols. SL,
677 F. Supp. 3d, 186, 204 (S.D.N.Y. 2023).

Cases relying on old, discretionary fee anti-SLAPP before 2020 amendments

Friends of Rockland Shelter Animals, Inc. (FORSA) v. Mullen,
313 F. Supp. 2d 339, 345 (S.D.N.Y. 2004).

Lexjac, LLC v. Beckerman,
No. 07-CV-4614, 2008 WL 11313761, at *13 (E.D.N.Y. Sept. 30, 2008).

Egiazaryan v. Zalmayev,
No. 11 CIV. 2670, 2013 WL 6486258, at *6 (S.D.N.Y. Dec. 11, 2013).
